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         EXHIBIT A
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                                                          Chester County Intermediate Unit

                                                                           Invoice
                                    Educational Service Center             455 Boot Road                    Downingtown, PA 19335

                                                           Due Date: 7/30/2018
   Pennsbury School District                                                                         Terms:       Net 30
   Attn: Business Manager
                                                                                               Invoice Date:      6/30/2018
   134 Yardley Ave
   Fallsington, PA 19054-1119                                                                     Invoice #:      404776
                                                                                                       Page:      1
   Comments - Attn: Bill Gretzula
                                                                                                Customer #:       586
                                                                                                    Phone :


        Qty     Description                                                                  Unit Price Extended Amount    Balance Due
          1.00 Payment due for Executive Coaching Services provided by Dr. Joseph            $8,000.00         $8,000.00     $8,000.00
               O'Brien

 Make checks payable to “CCIU”. Please write the invoice number on
 your check, and include one copy of this invoice with your payment.
                                                                                    Invoice Total        $8,000.00

                                                                                    Balance Due                            $8,000.00




                     Thank you for using Chester County Intermediate Unit services.
                          Please Note - A fee of $25 will be assessed for any returned checks.
               If you have questions regarding your account, contact Paula Brown at 484-237-5073 or paulab@cciu.org
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                      Pennsbury School District
               Expenses for Executive Coaching Services

 BILLABLE HOURS:                               # of Hours      Hourly Rate      Total
 Dr. Joseph O'Brien                              80.75          $125.00      $10,093.75
 Clerical Support                                10.00           $35.00       $350.00

                                                             Subtotal        $10,443.75


 TRAVEL/OTHER EXPENSES:                        # of Miles     Mileage Rate     Total
 Dr. Joseph O'Brien                             897.00           $0.545       $488.87

                                                             Subtotal         $488.87

 TOTAL BILL & EXPENSES


 Total Actual Costs for Services               $10,932.62
 Contract Cap                                    $8,000.00
 Difference (actual & capped cost)              -$2,932.62
 Total Adjusted Amount Due                       $8,000.00




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 Date            Reason                                                   Time
      1/29/18    Mtg. w/Brill Gretzula                                        3.50
      1/29/18    Phone Conf. w/Christian Swartz                               1.50
      1/29/18    Phone Conf. w/Christine Toy-Dragoni                          0.75
      1/30/18    Phone Conf. w/Gary Sanderson                                 1.00
        2/1/18   Phone Conf. w/Deb Wachspress                                 1.50
        2/1/18   Phone Conf. w/Jacqueline Redner                              1.50
        2/2/18   Phone Conf. w/John Palmer                                    1.00
        2/6/18   Phone Conf. w/Nancy Lawson                                   0.50
        2/6/18   Phone Conf. w/Joshua Waldorf                                 1.25
        2/9/18   Phone Conf. w/T.R. Kannon                                    0.50
      2/20/18    Phone Conf. w/Bill Gretzula                                  1.00
      2/26/18    Face-to-Face Interview w/Michele Spack                       0.75
      2/26/18    Face-to-Face Interview w/Donna Dunar                         0.75
      2/26/18    Face-to-Face Interview w/Kevin Dorsey                        0.75
      2/26/18    Face-to-Face Interview w/Ann Langtry                         0.75
      2/26/18    Face-to-Face Interview w/Dan Rodgers                         0.50
      2/26/18    Face-to-Face Interview w/Betty Ann Rarrick                   0.75
      2/26/18    Face-to-Face Interview w/Beth Aldridge                       0.75
      2/26/18    Face-to-Face Interview w/Joanne Godzieba                     0.75
      2/26/18    Face-to-Face Interview w/Bill Gretzula                       1.25
      2/26/18    Face-to-Face Interview w/Charlie Williams                    0.75
      2/28/18    Face-to-Face Interview w/Reggie Meadows                      1.00
      2/28/18    Face-to-Face Interview w/Donna McCormick-Miller              0.75
      2/28/18    Face-to-Face Interview w/Stephanie Hultquist                 0.75
      2/28/18    Face-to-Face Interview w/Laura Tittle                        0.75
      2/28/18    Face-to-Face Interview w/Joanne Godzieba                     0.75
      2/28/18    Face-to-Face Interview w/Peggy Schiavone                     1.00
        3/1/18   Mtg. w/Pennsbury Board                                       4.00
        3/8/18   Phone Conf. w/Christian Swartz                               0.75
      3/15/18    Mt.g w/Pennsbury Board                                       3.75
      3/19/18    Face-to-Face Interview w/Kevin Dorsey                        0.75
      3/19/18    Face-to-Face Interview w/Sherri Morett                       0.75
      3/19/18    Face-to-Face Interview w/Dan Rodgers                         0.25
      3/19/18    Face-to-Face Interview w/Lisa Becker                         0.75
      3/19/18    Face-to-Face Interview w/Joe Masgai                          0.75
      3/19/18    Face-to-Face Interview w/Teri Ricci                          0.75
      3/29/18    Mtg. w/Brill Gretzula                                        4.50
      3/29/18    Mtg. w/Dorothea Brown                                        1.50
      4/10/18    Mt.g w/Pennsbury Board                                       3.50
      4/24/18    Mtg. w/Cabinet Members                                       5.00
      5/21/18    Phone Conf. w/Peter Amuso                                    0.25
      5/25/18    Phone Conf. w/Bill Gretzula                                  0.50
        6/6/18   Wrap-up Email                                                1.00
 Various Dates   Miscellaneous Phone calls with variety of stakeholders      13.00
 Various Dates   Analysis of Interviews                                       3.50
 Various Dates   Writing of Executive Coaching Report                         5.25
 Various Dates   Writing of Allegations & Follow-up Report                    3.50

                 Total Billable Hours                                        80.75

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                                                                                                                              Maureen Linahan, Title IX and Section 504 coordinator, at 484-237-
  Pennsylvania                                                                                                                5086/DeafRelay@cciu. org; or in writing at the Chester County
                                                                                                                              Intermediate Unit,
  Facts and Figures                                                                                                           455 Boot Road, Downingtown, PA 19335.

  Institutions
      • Public School Districts - 500
      • Intermediate Units - 29
      • CTCs - 94
      • Public Schools (PK-12) - 3,303
      • Charter Schools (Including Cyber) - 154
      • Private/Non-Public Schools - 2,428

  Enrollment
                                                                                                                                                                                                               T
     • Public Schools (PK-12) - 1,770,065                                                                                                                                                                      h
          Charter Schools - 132,770
     • Home School - 24,076                                                                                                                                                                                    e
     • Private/Non-Public (K-12) - 231,269
                                                            Chester County Intermediate Unit                                                                                                        Pennsbury School District
                                                                        455 Boot Road
                                                                     Downingtown, PA 19335
                                                                                                                                                                                                       Board of Directors
                                                                        (484) 237-5000                                                                                                              Communication Protocols
                                                                         www.cciu.org




 Bucks County
 Facts and Figures
                                                                                                                                                                                                   Quick Tips and Fast Facts
     •    15 school districts
     •    Three Charter Schools                           Chester County Intermediate Unit
     •    11 Cyber Charter Schools
     •    Three CTC's                             The Chester County Intermediate Unit will not discriminate in
                                                  employment, educational programs or activities based on race,
     •    One IU                                  color, religion, national origin, age, sex, disability, marital status or
     •    39 Non-Public Schools                   because a person is a disabled veteran or a veteran of the
                                                  Vietnam era. Reasonable accommodations will be provided for
                                                  employees and program participants who are disabled. For
                                                  information regarding civil rights or grievance procedures, contact
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                      School Governance
                      Constitution of Pennsylvania
                      Article III, Section 14
              March   “The General Assembly shall provide for the
                      maintenance and support of a thorough and
              2018    efficient system of public education to meet
                      the needs of the Commonwealth.”


                      State Board of Education
                        • Council of Basic Education
                             • Council of Higher Education
                        • Regulations found in 22 Pa. Code


                      Local School Boards of Education
                             • Elected in 498 school districts
                        • Authorized to (see Article V of Pa. School
                            Code):
                                    • adopt policies
                                • approve budgets, levy taxes
                                     • build & operate schools
                                • hire Superintendent and other
                                        employees
                                • adopt and enforce reasonable
                                         rules and regulations
                        • Superintendent shall have a seat on
                            the board and the right to speak on all
                            matters before the board, but not to
                                 vote (see 24 P.S. 10-1081).




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 1. Email Communication                       Communication    Protocols
                                                      • No debate or discussion by email. Think ‘Sunshine Law.’ A)
         Send to Admin Liaison                                 • Don’t copy others outside of the original email unless
           -Copy Issues
                 Committee Chair                                 you ask permissionBoard
                                                                                     from theSolutions
                                                                                               sender.
           -Copy Superintendent & President                    • Be smart with your email communications.
                                                               • Avoid using personal devices for Board business.
         B) Send to entire Board                               • Email requires action, research or information gathering.

                                                                                                                                                                             • Copy Superintendent
                                                                                                                                              and Pres on specific issues.
                                                                                                                                                                             • Make no promises.
 2. Requests for information from:                              • Personal need vs. request for action needs full board                                                      • Board/Superintendent
     Attorneys & consultants...                                   awareness.                                                                                                 should work on talking
     Always a charge                                            • Board members should call Superintendent to discuss;                                                       points on
                                                                  Superintendent will send explanation to Board President                                                      t
                                                                   and Board.                                                                                                  h
 3. Respect, Open, Honest                                      •• Think
                                                                  Superintendent
                                                                        about howshould  initiate
                                                                                   you want   to becall unless act
                                                                                                     treated;  it’s accordingly.
                                                                                                                    a personnel                                                e
                                                                  question re: Superintendent.
                                                                                                                                                                              b
                                                                                                                                                                              i
                                                                                                                                                                              g
 4.
 5. Responding
    Dealing withto information
                 rumors        that
                         and hearsay                           ••    Do not
                                                                     Call    embarrass presenter.
                                                                          Superintendent   – and hold him accountable.                                                        g
     appears to be inaccurate                                   ••   Talk
                                                                     Policy for Superintendent
                                                                          with  handling issues. in advance if possible.                                                      e
                                                                                                                                                                              r

                                                                                                                                                                              i
                                                                                                                                                                              s
 6. Updates to Board Shared Site                               • If Board agenda goes out Friday, info is due Wednesday at noon                                               s
                                                                 – eight days beforehand.                                                                                     u
                                                               • Anything past this time, copy of update in email and a phone                                                 e
                                                                 call or text referring to updates.                                                                           s
                                                               • Send all comments on agenda items to Superintendent by                                                       .
 7. Changes to Consent Agenda                                  • IfTuesday
                                                                     you willatbe removing an item from the consent agenda, let
                                                                                noon.
                                                                 Superintendent and President know by 4 p.m. of Board meeting
                                                                 so the agenda can be rewritten and posted correctly. If you don’t
                                                                 make this deadline, let President know prior to the meeting to
                                                                 avoid any surprises.




 8. No last minute additions to Board                          • No surprises – these make everyone look bad. (Think of
    agenda – unless an emergency                                 bad legislators adding self-serving amendments to bills
 9. Visiting Schools                                              at last minute.)
                                                               • Separate   your parent/community member role from
                                                                   your Board role.
                                                               • If visiting as a Board member, make sure Superintendent
                                                                 knows and agrees.
                                                               • Superintendent should make contact with building
                                                                 principal in advance of visiting.



 10. Constituent Emails                                        • Friendly, gracious, and non-promising response is best.
                                                               • Be careful—anyone can cut & paste your response.
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    Communication Concepts to Keep in Mind
Remember Always:
              •   Why are they telling me this?
              •   What do they want me to do
                  with this information?
              •   “Just making you aware” is
                                       seldom what they want.


You Should:
     1. Explain the Board system – most do not understand:
            • You are one of ten (nine).
            • Superintendent and administrators run district: you hire and hold
                                     them accountable.


                            2. Listen graciously and sympathetically.
              •    Many people just want to be heard.


     3. Always ask: “How can I help? What would you like me to do?”


     4. Ask the person to send you and the Superintendent an e-mail – so that follow up is assured.


     5. Insist that your Superintendent follows through and copies you on the response:
             • Dave needs to establish this process of responding to community complaints.
             • An informal log should be maintained for Board/Superintendent annual review – “frequent users” start to
                  emerge.
             • Develop strategies aimed at helping frequent users/complainers.
                  Develop strategies for topic specific complaints – eg. New math
                  program; schedule; athletic program…


     6. Be aware you will be quoted and referenced throughout the community
         – and nothing is “off the record” (unless you are speaking to a professional
         journalist!).




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             %52,*24%3 +6 47% I#203D

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                 2,, 0%B*-0%3 23:-$-"4024-5% ,%23%0"]
            aD   =#$&-3%$4-2, .#:)-,24-#$ #& 2,, -$&#0:24-#$ )0#5-3%3]
            <D   ! I#203 ,%5%, +0-%&-$1 #$ 47% 2$2,6"-" 2$3 47% -:)0#5%:%$4 ),2$ &#0 47% E*)%0-$4%$3%$4 "#
                 3%5%,#)%3/ 4# -$.,*3% +%$.7:20F" &#0 -:)0#5%:%$4 +6 47% E*)%0-$4%$3%$4]
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                                                                                                                         "
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*1%&EF&*'83&1.)!&0)5."%(#)!&)+&3%',04&3%,2#0%3A&




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     %3*.24#0"D ==>?W" :2e#0 "%05-.%" -$.,*3%L ")%.-2, %3*.24-#$ 2$3 .#:)%$"24#06 %3*.24-#$ )0#102:"] .20%%0/
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     +%4C%%$ 47% 8%$$"6,52$-2 E424% M%)204:%$4 #& d3*.24-#$ 2$3 47% ,#.2, ".7##, 3-"40-.4"/ 47% -$4%0:%3-24%
     *$-4W" :-""-#$ -" 4# )0#5-3% "%05-.%" 4724 .2$ +% #&&%0%3 :#"4 %.#$#:-.2,,6 24 47% 0%1-#$2, ,%5%,D

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     .#$"*,424-5% "%05-.%" -$ 47% 20%2" #& +*"-$%"" #&&-.% #)%024-#$"/ .*00-.*,*: "%05-.%"/ :2-$4%$2$.% 2$3
     .*"4#3-2, "%05-.%"/ ")%.-2, %3*.24-#$ "%05-.%" 2$3 4%.7$#,#16 "%05-.%"D f2"4 +*4 $#4 ,%2"4/ 47% ==>?
     %R%.*4-5% 4%2: )0#5-3%" ".7##, +#203 -$T"%05-.% )0#102:" 2$3 0%40%24" 2$3 %R%.*4-5% .#2.7-$1D

     ?$,-F% $24-#$2, 2$3 &#0T)0#&-4 "%20.7 #012$-H24-#$"/ 2" 2 8%$$"6,52$-2 gT;' )*+,-. 0%1-#$2, %3*.24-#$2,
     "%05-.% #012$-H24-#$/ 47% ==>? 72" 2 5%"4%3 -$4%0%"4 -$ ),2.-$1 47% +%"4 .2$3-324%/ $#4 e*"4 2 .2$3-324%/ -$
     %2.7 2$3 %5%06 3-"40-.4 &#0 C7-.7 -4 .#$3*.4" 2 "%20.7D V#0F-$1 2" 2 $%4C#0F #& %3*.24-#$2, "%05-.% 21%$.-%"/
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                     00! B*%C'$."1'6="
                         "
        K7% ==>? dR%.*4-5% =#2.7-$1 K%2: C2" &#0:%3 -$ '\\Y 4# .#$3*.4 I#203 2$3 E*)%0-$4%$3%$4 402-$-$1 &#0
        #*0 0%1-#$2, ".7##, 3-"40-.4"D f%3 +6 M0D P#"%)7 G^I0-%$/ ==>? %R%.*4-5% 3-0%.4#0/ 47% ==>? 72"
        "*..%""&*,,6 .#$3*.4%3 "*)%0-$4%$3%$4 2$3 4#) 23:-$-"4024-5% "42&&-$1 3%5%,#):%$4 .#2.7-$1 2$3 402-$-$1
        &#0 #5%0 2 3#H%$ ".7##, 3-"40-.4"/ -$.,*3-$1 +*4 $#4 ,-:-4%3 4#L !5#$ 90#5%/ =#,,%1-*: =7204%0 E.7##,/
        M#C$-$14#C$ !0%2/ 90%24 N2,,%6/ O25%0&#03 K#C$"7-)/ GC%$ PD Q#+%04"/ GR&#03 !0%2/ Q23$#0
        K#C$"7-)/ Q#"% K0%% S%3-2 2$3 ?$-#$5-,,%T=7233" U#03D V7-,% 47% $24*0% #& #*0 2.4-#$" 20% 2,C26" F%)4
                                                                                                                   #
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.#$&-3%$4-2, 2$3 3-".0%%4/ C% 725% "*..%""&*,,6 -:)0#5%3 47% .#::*$-.24-#$ )0#4#.#," 2$3 C#0F-$1
0%,24-#$"7-)" C-47-$ %2.7 #& 47% ".7##, 3-"40-.4" C% 725% 2""-"4%3 C-47 ,%23%0"7-) -""*%" -$ 47%-0 4#)
:2$21%:%$4 4%2:"D

G*0 4%2: -" :23% *) #& 8%$$"6,52$-2 .20%%0 %3*.24#0" 2$3 ,%23%0" -$ 47%-0 &-%,3"D U#0 47-" C#0F/ -4 -"
%R)%.4%3 4724 #$,6 47% &#,,#C-$1 4%2: :%:+%0" C#*,3 +% -$5#,5%3L

•   D*!"E%-'&2"AF>*0'9<"'@'$:.0/'"80*'$.%*
    =#$42.4 >$&#0:24-#$L
    P#%Gh..-*D#01 i XYXT'Z<T[\;\ @C#0FA] XYXTX[(T((;Z @.%,,A] a;\T[aaT;;XX @7#:%A

    M0D P#"%)7 PD GWI0-%$ -" 47% %R%.*4-5% 3-0%.4#0 #& 47% =7%"4%0 =#*$46 >$4%0:%3-24% ?$-4D O% C2"
    2))#-$4%3 %R%.*4-5% 3-0%.4#0 -$ !)0-, '\\< 2$3 .#$4-$*%" 4# "%05% C-47 3-"4-$.4-#$ 2$3 4# )0#5-3%
    ,%23%0"7-) 2" 47% %3*.24-#$2, 21%$.6W" 4#) %R%.*4-5%D >$ 233-4-#$ 4# 7-" 3*4-%" 2" ==>?W" %R%.*4-5%
    3-0%.4#0/ M0D GWI0-%$ -" 47% )2"4 )0%"-3%$4 #& 47% 8%$$"6,52$-2 !""#.-24-#$ #& >$4%0:%3-24% ?$-4"/ 2$3
    72" 7%,3 47% #&&-.% #& 40%2"*0%0/ "%.0%4206/ 2$3 5-.% )0%"-3%$4 &#0 47% "424%C-3% #012$-H24-#$D

    80-#0 4# 7-" 2))#-$4:%$4 2" ==>?W" %R%.*4-5% 3-0%.4#0/ M0D G^I0-%$ "%05%3 2" 2 "*)%0-$4%$3%$4 #&
    ".7##," &#0 %-174 6%20"D O% C2" "*)%0-$4%$3%$4 #& O233#$&-%,3 E.7##, M-"40-.4 -$ j%C P%0"%6 &0#:
    '\\[T'\\</ 2$3 #& 47% E)0-$1&-%,3 E.7##, M-"40-.4 -$ M%,2C20% =#*$46/ 8%$$"6,52$-2 &0#: ;((( *$4-,
    '\\[D >$ 233-4-#$/ M0D G^I0-%$ "%05%3 2" 2 7-17 ".7##, )0-$.-)2, 2$3 2""-"42$4 )0-$.-)2, 2$3 2 .,2""0##:
    4%2.7%0 -$ 47% E)0-$1&-%,3 E.7##, M-"40-.4/ M%,2C20% =#*$46D

    >$ 233-4-#$ 4# 7-" C#0F 24 47% ==>?/ M0D G^I0-%$ 72" .#$3*.4%3 $*:%0#*" "*)%0-$4%$3%$4 "%20.7%"D O-"
    :#"4 0%.%$4 C%0% &#0 47% !5#$ 90#5%/ =7%"4%0 ?),2$3/ M#C$-$14#C$ !0%2/ 920$%4 N2,,%6/ 90%24
    N2,,%6/ O233#$&-%,3 @j%C P%0"%6A/ O25%0&#03 K#C$"7-)/ S-33TV%"4/ GC%$ PD Q#+%04"/ GR&#03 !0%2/
    8%4%0" K#C$"7-)/ 87#%$-R5-,,% !0%2/ Q23$#0 K#C$"7-)/ Q#"% K0%% S%3-2 2$3 ?$-#$5-,,%T=7233" U#03
    E.7##, M-"40-.4"D K# 324%/ ([k #& 47% :24.7%" C% 725% :23% +%4C%%$ E*)%0-$4%$3%$4" 2$3 47%-0
    0%")%.4-5% .#::*$-4-%" 20% "4-,, -$42.4D

•   G-!"G6*;"E'699'",:*4';<"80*'$.%*"%("$%==:90$6.0%9-"698"4'6*9097"-%4:.0%9-
    =#$42.4 >$&#0:24-#$L S206=h..-*D#01 i XYXT'Z<T[;<;

    S"D S206 P%2$$% =*0,%6/ 3-0%.4#0 #& .#::*$-.24-#$" 2$3 ,%20$-$1 "#,*4-#$"/ 72" +%%$ %:),#6%3 +6 47%
    =7%"4%0 =#*$46 >$4%0:%3-24% ?$-4 "-$.% ;(YaD S"D =*0,%6 -" 2$ #0-1-$2, :%:+%0 #& 47% "%20.7
    .#::-44%% 4724 C2" &#0:%3 -$ '\\YD E7% 72" ,%3 4C# "%20.7%" 2$3 2""-"4%3 -$ #5%0 2 3#H%$
    "*)%0-$4%$3%$4 "%20.7%" +6 ".0%%$-$1 2$3 024-$1 2)),-.2$4"/ 3%5%,#)-$1 2)),-.2$4 ".0%%$-$1 0*+0-."/
    .#$3*.4-$1 &#.*" 10#*)"/ 2$2,6H-$1 &#.*" 10#*) &%%3+2.F/ 7#"4-$1 .#::*$-46 &#0*:" 4# :%%4 47%
    .2$3-324%/ 3%5%,#)-$1 .2$3-324% )0#&-,%"/ "%05-$1 2" 2 :%3-2 ,-2-"#$/ -$4%05-%C-$1 .2$3-324%" 2$3
    #5%0"%%-$1 -$4%0$2, 2$3 %R4%0$2, "%20.7 .#::*$-.24-#$"D !" 47% 3-0%.4#0 #& .#::*$-.24-#$" 2$3
    ,%20$-$1 "#,*4-#$"/ S"D =*0,%6 #5%0"%%" 47% 3-5-"-#$/ C7-.7 -$.,*3%" 2,, .#::*$-.24-#$" 2$3 ,%1-",24-5%
    0%,24%3 &*$.4-#$" #& 47% ==>?D E7% 2,"# #5%0"%%" 47% "4*3%$4 "*))#04 2$3 .*"4#:%0 "%05-.% #)%024-#$" #&
    47% I02$36C-$% N-04*2, !.23%:6/ C7-.7 #)%024%" 5-04*2, 2.23%:-%" -$ Z\ ".7##, 3-"40-.4" -$ I*.F"/
    =7%"4%0/ M%,2C20% 2$3 S#$41#:%06 =#*$4-%"D >$ '\\Y/ C7-,% %:),#6%3 2" 47% 3-0%.4#0 #& )*+,-.
    0%,24-#$"/ S"D =*0,%6 2*1:%$4%3 7%0 %3*.24-#$/ %20$-$1 2 S2"4%0^" 3%10%% -$ =#::*$-.24-#$ E4*3-%"
    &0#: V%"4 =7%"4%0 ?$-5%0"-46D S"D =*0,%6 72" 2,"# "%05%3 2" 8*+,-. Q%,24-#$" =#::-44%% =72-0 #$ 47%
    8%$$"6,52$-2 !""#.-24-#$ #& >$4%0:%3-24% ?$-4"/ 2$3 2" "*.7 "7% :%%4" C-47 7%0 .#*$4%0)204" &0#:
                                                                                                             $
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          470#*17#*4 47% "424% 2$3 -" 2+,% 4# 1%4 2 &-0: *$3%0"42$3-$1 #& 47% -""*%" 2$3 .72,,%$1%" &2.-$1 ".7##,
          3-"40-.4" 470#*17#*4 47% .#::#$C%2,47D =*00%$4,6/ "7% -" 2 :%:+%0 #& 47% 8%$$"6,52$-2 E.7##, 8*+,-.
          Q%,24-#$" !""#.-24-#$ 2$3 47% j24-#$2, E.7##, 8*+,-. Q%,24-#$" !""#.-24-#$D
          "*)%0-$4%$3%$4 "%20.7D

      •   G-!"E690$'"?'67;<"68=090-.*6.0/'"6--0-.69."
          =#$42.4 >$&#0:24-#$L P2$-.%Oh..-*D#01 i XYXT'Z<T[\;\

          S"D P2$-.% O%216 72" +%%$ 2$ -$4%102, :%:+%0 #& 47% "%20.7 4%2: "-$.% '\\YD !" 47% 23:-$-"4024-5%
          2""-"42$4 4# 47% %R%.*4-5% 3-0%.4#0/ S"D O%216 "%05%" 2" 2 )#-$4 #& .#$42.4 &#0 ".7##, 3-"40-.4 )%0"#$$%,/
          +#203 :%:+%0" 2$3 .2$3-324%"D E7% -" -$"40*:%$42, -$ :2-$42-$-$1 47% "%20.7 -$402$%4 "-4%/ ".7%3*,-$1
          -$4%05-%C" 2$3 &#.*" 10#*)" 2$3 2""-"4-$1 C-47 ,#1-"4-."D S"D O%216 72" "%05%3 2" 2$ %R%.*4-5%
          23:-$-"4024-5% 2""-"42$4 &#0 #5%0 '\ 6%20" 24 ==>?D

ND        10='409'

      K7-" C#0F "7#*,3 +% "4204%3 2$3 .#:),%4%3 2" B*-.F,6 2" )#""-+,% J $%.%""-424-$1 2$ -$4%$"-5% 2:#*$4
      #& 4-:% 4# +%1-$ 47% )0#.%""D K7% 4#42, 4-:% -" %"4-:24%3 4# +% 2+#*4 X\ 7#*0" J 3%)%$3-$1 *)#$ 47%
      252-,2+-,-46 #& 47% F%6 :%:+%0" #& 47% 23:-$-"4024-5% 4%2: 2$3 47% E*)%0-$4%$3%$4D

      K7% .#$"*,42$4 72" #*4 #& 47% "424% #+,-124-#$" +%1-$$-$1 47% %$3 #& P2$*206 2$3 0*$$-$1 &#0 2+#*4
      470%% C%%F"/ "# -4 -" 0%.#::%$3%3 4# +%1-$ 2" %20,6 2" )#""-+,% 47-" P2$*206 J C-47 2$ %$3 324% #& 47%
      %$3 #& U%+0*206 &#0 &-$2, .#:),%4-#$ #& 47% 2""%"":%$4 2$3 )0%)2024-#$ #& 47% 0%)#04D

      K7% &-$2, 0%)#04 "7#*,3 +% "720%3 C-47 47% I#203 2$3 E*)%0-$4%$3%$4 -$ %20,6 S20.7D



N>D       ,%9.*6$.


      K7% #$% )21% .#$402.4 -" -$.,*3%3 2" 47% $%R4 )21% #& 47-" )0#)#"2,lD 821% "-R @aAD




      Q%")%.4&*,,6 "*+:-44%3 &#0 8%$$"+*06 I#203 #& E.7##, M-0%.4#0"/

      P#% GWI0-%$

      P#"%)7 PD GWI0-%$/ d3DMD
      dR%.*4-5% M-0%.4#0
                                                                                                                       %
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             =7%"4%0 =#*$46 >$4%0:%3-24% ?$-4




                                          !"#$% #&%'$(()("#&
                                                   '()* +,-../.01 )* 2.13..0 1(.4

                                    5678'79 5:;<'= ><'79?7@>A'7 ;<>' BC55>;DE

                                                              +0F 1(.

                                       G7<<8H;9= 856::I @>8'9>5' BC@>8'9>5'DE



'(. 1.-/ JK 1()* A,-../.01 *(+LL 2.                                        1J                                M

@N-)0, 1(. 1.-/* JK 1()* +,-../.01O 1(. 55>; *(+LL P-JQ)F. KJ- 1(. @)*1-)R1 +0F 1(. @)*1-)R1 *(+LL PN-R(+*. K-J/ 1(. 55>;
*.-Q)R.* L)*1.F 2.LJ3 +0F KNLLS F.*R-)2.F )0 1(. +11+R(.F +PP.0F)R.*O PN-*N+01 1J 1.-/* *.1 KJ-1( 1(.-.)0M

8NP.-)01.0F.01 +0F AF/)0)*1-+1)Q. '.+/ 5J+R()0, +0F @.Q.LJP/.01 T UNLLV8.-Q)R. 7W.RN1)Q. 5J+R()0, 8.-Q)R.* +* P.- 1(.
KJLLJ3)0, 1.-/*4

•       !!"#$%!&'"" "
                    ()*+,-./"01."&!$.2-"3!$4"
                    (5+,-./"01."$33"$46787&%.$%79!":!.&188!3"""
                  (;+,-./"01."23!.72$3"&<::1.%""
                  =2%<$3"21&%&"01."673!$>!?"0114@"$84"1%-!.".!3$%!4"A<&78!&&"$84"%.$9!3"!B:!8&!&""
                  "
•      !"#$%&&#'()*%+,#-,.#/.**+0()1#23,44&#5%+-)%3-#6*#%-.7%8.9#%*:4%3.#'4)#6&&#.;<.*+.+#).&6-.9#-4#-,.#&.69.)+,%<#6*6&1+%+#
    ).<4)-#6*9#-,.# 477(*%36-%4*+#6*9#9.3%+%4*#76=%*>#3463,%*>#?#
    #
• /617.*-#9(.#@A#961+#(<4*#347<&.-%4*#4'#+.6)3,#+.):%3.+?#
    #
'(. @)*1-)R1 +,-..* 1J P+S 55>; KJ- *.-Q)R.* 1J 2. -.0F.-.F +* JN1L)0.F +0F F.K)0.F 3)1()0 1()* P-JPJ*+LM

55>; 3)LL )**N. )0QJ)R.* 1J 1(. @)*1-)R1 +1 1(. RJ/PL.1)J0 JK 1(. *.+-R(M G+S/.01 )* FN. 3)1()0 #X F+S* JK -.R.)P1 JK )0QJ)R.M

>0 3)10.** 3(.-.JKO 1(. P+-1).* (.-.1J )01.0F)0, 1J 2. L.,+LLS 2JN0F (+Q. .W.RN1.F 1()* A,-../.01 KJ- 1(. 1.-/ )0F)R+1.FM

    "
    H$$'&.'8"5;".2'"B'99-5:*;"                       " "          H$$'&.'8"5;",2'-.'*",%:9.;" 9.'*='806.'"I90.""
    #$2%%4"D0-.*0$.">%6*8"



       E-1$24*0%                            M24%                    E-1$24*0%                             M24%

    K-4,%L                                                        K-4,%L        dR%.*4-5% M-0%.4#0


                                                                                                                                 &
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&




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